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                                                              December           ll,20l9

         VIA ECF
         Honorable Thomas J. McAvoy
         United States District Judge
         United States District Court for the Northern District of New York
         U.S. Courthouse and Federal Building
         15 Henry Street
         Binghamton, New York 13901

                    Re:       Doe v. Syracuse University; Civil Action No. 5:17-ov-00787-TJM-ATB

          Dear Judge McAvoy:

                  As counsel to Syracuse University's independent student newspaper, The Daily Orange
          ("TDO" or the "Newspaper"), we write respectfully to request expedited determination of our
          client's pending motion for public access [Dkt. No. 72]to Exhibit F [Dkt. No. 63-8] of Plaintiff s
          Motion for Summary Judgment, as well as to the parties' respective letter briefs [Dkt. Nos. 68,69]
          addressing the sealing of Exhibit F, in the above-referenced proceeding.

                  There can be no real question that a presumptive right of public access attaches under both
          the First Amendment and common law to the summary judgment papers that have been submitted
          to the Court in this case. Giuffre v. Maxwell,2}lg U.S.App. LEXIS 7585 (2d Cir. Mar. ll,20I9);
          Lugosch v. Pyramid Co., 435 F.3d 1 I0 (2d Cir. 2006); Joy v. North, 692 F .2d 880 (2d Cir. 1982),
          cert. denied sub nom. CityTrust v. Joy,460U.S. 1051 (1983); see also Rushþrdv.New Yorker
          Møgazine, lnc.,846F.2d249 (4th Cir. 1988); SanJose Mercury News, Inc. v. U.S. Dist. Ct.,
           187 F.3d 1096 (9th Cir. 1999). Accordingly, as the Second Circuit emphasized in Lugosch, "[i]n
          light of the values which the presumption of access endeavors to promote, a necessary corollary
          to the presumption is that access . . . should be immediate and contemporeneous." 435 F.3d at
           126-27 (emphasis supplied; internal quotations and citation omitted).

                   Numerous federal appellate and district courts have similarly recognized the importance of
          the temporal dimension of the access right in order that the value and utility of public oversight of
          thejudicialprocessispreserved. See, e.g.,AssociatedPress v. U.S. Dist. Ct.,705F.2d1143,1147
          (9th Cir. 1933) ("It is irrelevant that some of these pretrial documents might only be under seal
          for, at a minimum, 48 hours under the fcourt's] order. The effect of the order is a total restraint on
          the public's first amendment right of access even though the restraint is limited in time.") (footnote
          omitted); Grove Fresh Distributors, Inc. v. Everfresh Juice Co.,24 F.3d 893, 897 (7th Cir. 1994)
          ("The newsworthiness of a particular story is often fleeting. To delay or postpone disclosure
          undermines the benefit of public scrutiny and may have the same result as complete suppression.")
          (citations omitted); United States v. Wecht, 537 F.3d 222,229 (3d Cir. 2008) ("the value of the
          right of access could be seriously undermined if it could not be contemporaneous"); Republic of

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        Phitippines v. l(estinghouse Elec. Corp., 949 F.2d 653, 664 (3d Cir. 1991) ("the public interest
        encompasses the public's ability to make a contemporaneous review of the basis of an important
        decisionofthedistrictcourt"); MatterofContinentallll.Sec.Litig.,732F.2d1302,l310(7thCir.
        1934) ("the presumption of access normally involves a right of contemporaneous access:
        disclosure of the contents of the Report would have been propet at the time the motion was still
        pending" (emphasis in original). lf TDO's reporters continue to be denied access with respect to
        their newsgathering relative to Exhibit F and are thereby prevented from reporting fully,
        accuraiely, and contemporaneously on the Rule 56 motion record presumably under consideration
        by the Court, the impermissible 'ofreezing" effect on the Newspaper's               (and the public's)
                                                                                 oocommunication of news and
        constitutional rights is particularly damaging because it impairs the
                                                oothe
        commentary on current events" and             element of time is not unimportant if press coverage is to
        fulfill its traditional function of bringing news to the public promptly." Nebrøska Press Assoc. v.
        Stuart, 427 U.S. 539, 559, 561 (1976).
                                    oobenefits
                  In short, the              attendant with open proceedings are compromised by delayed
         disclosure of documents."       Doe   v. Pub. Citizen,749F.3d 246,272-73 (4th Cir. 2014). TDO
         therefore respectfully requests that this Court order immediate disclosure of Exhibit F and the
         parties' briefing on its sealing to prevent the continuing infringement of its First Amendment
         iigntr. Nebraska Press Assoc. v. Stuart,423 U.S. 1327,1329 (1975) (ooany First Amendment
         infringement that occurs with each passing day is irreparable"); Globe Newspaper Co. v. Pokaski,
         368 F.2d 497,507 (lst Cir. 1989) ("even a one to two day delay impermissibly burdens the First
         Amendment"); Paulsen v. County of Nassau, 925 F,zd 65, 68 (2d Cir. l99l) ("our historical
         commitment to expressive     liberties dictates 'ft]hat the loss of First Amendment freedoms, for even
                            -of
         minimal periods        time, unquestionably constitutes irreparable injury"') (citation omitted);
         O'Malley-v. City of Syracuse, 813 F.Supp. 133, 140 (NI.D.N.Y. 1993) (noting that the loss of First
                             oofor
         Amendment rights          even one evening . . . would per se constitute irreparable injury"); San Jose
         Mercury Newso 187 F.3d at 1096,1099 (delay 'ocan constitute an irreparable injury" "[i]n cases
         involving a request by the press for access to judicial records").

                  Thank you for the Court's continuing consideration in this regard.

                                                   Respectfully submitted,
                                                                                         ,
                                                 GREENBERG TRAURIG,          LLP

                                                              J



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